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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JESSICA BLINKHORN,                    )
                                      )
      Plaintiff,                      )
                                      )       CIVIL ACTION
v.                                    )
                                      )       FILE No. _____________________
CHEHAR ATLANTA REAL                   )
ESTATE LLC,                           )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, JESSICA BLINKHORN, by and through the undersigned

counsel, and files this, her Complaint against Defendant CHEHAR ATLANTA

REAL ESTATE LLC pursuant to the Americans with Disabilities Act, 42 U.S.C. §

12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District

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of Georgia, Atlanta Division, as the parcel of real property at issue in this case is

located in Rockdale County, Georgia, and Defendant maintains its registered agent

for service of process in Fulton County, Georgia.

                                      PARTIES

      3.     Plaintiff JESSICA BLINKHORN (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

      4.     Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) and is

disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant CHEHAR ATLANTA REAL ESTATE LLC (hereinafter

“Defendant”) is a Georgia limited liability company, that transacts business in the

state of Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Dharmisth Patel, 764 Woodson Street, S.E., Atlanta,

Georgia 30315.


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                           FACTUAL ALLEGATIONS

      9.     On or about April 23, 2021, Plaintiff was a customer at “Dunkin’

Donuts,” a business located at 1890 S.E. Highway 20, Conyers, Georgia 30013.

      10.    Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately twenty-six (26) miles from the Facility

and Property.

      12.    Plaintiff regularly travels in the near vicinity of the Facility and

Property, as it is located within six (6) miles of where she regularly services her

wheelchair accessible vehicle.

      13.    Plaintiff’s access to the business located at 1890 S.E. Highway 20,

Conyers, Georgia, (Rockdale County Property Appraiser’s parcel number

076003014R), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of her disabilities, and she will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility


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and Property, including those set forth in this Complaint.

      14.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      19.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

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      20.    The Facility is a public accommodation and service establishment.

      21.    The Property is a public accommodation and service establishment.

      22.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her


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disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of her

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).


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      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    The access aisle adjacent to the accessible space on the Property

             has significant amounts of broken pavement within its

             boundaries, resulting in numerous vertical rises in excess of ¼”

             (one quarter inch), in violation of section 502.4 of the 2010

             ADAAG standards.

      (ii)   The access aisle centrally adjacent to the two accessible parking

             spaces on the Property is also not level due to the presence of a

             ramp within the boundaries of said access aisle, in violation of


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        section 502.4 of the 2010 ADAAG standards.

(iii)   The above-described ramp protrudes into the boundaries of the

        adjacent accessible parking spaces, in violation of section 502.4

        of the 2010 ADAAG standards.

(iv)    The side flares of the above-described ramp have slopes in

        excess of 1:10 (one to ten), in violation of section 406.3 of the

        2010 ADAAG standards.

(v)     Further, there is broken pavement and excessive vertical rises at

        the base, running surface, and landing of the above-described

        ramp, in violation of sections 405.4 and 405.7 of the 2010

        ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The door to the restrooms in the Facility requires an opening

        force in excess of 5 lbs. (five pounds), in violation of section

        404.2.9 of the 2010 ADAAG standards.

(ii)    The sink in the restroom in the Facility provides for inadequate

        clear floor space for a forward or parallel approach, in violation

        of section 606.2 of the 2010 ADAAG standards.

32.     Without limitation, the above-described violations of the ADAAG


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rendered the disabled accessible parking spaces on the Property unusable by

Plaintiff, made it more difficult and dangerous for Plaintiff to travel upon the ramp

servicing the Property, and rendered features of the restroom unusable by Plaintiff.

      33.    The Property has not been adequately maintained in operable working

condition for those features of facilities and equipment that are required to be

readily accessible to and usable by persons with disabilities in violation of section

28 C.F.R. § 36.211.

      34.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      35.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      36.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.


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      38.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      39.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      40.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      41.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      42.    Plaintiff’s requested relief serves the public interest.

      43.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      44.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees


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and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      45.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: May 14, 2021.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich

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                                    Georgia Bar No. 242240
                                    The Law Office of Craig J. Ehrlich, LLC
                                    1123 Zonolite Road, N.E., Suite 7-B
                                    Atlanta, Georgia 30306
                                    Tel: (800) 238-3857
                                    Fax: (855) 415-2480
                                    craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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